      Case 16-65093-sms         Doc 84-1 Filed 10/16/18          Entered 10/16/18 14:25:59           Desc Ntc.
                                    Re: DSO Obligations          Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia
                                             Atlanta Division



In     Debtor(s)
Re:    Paula Van Sickle                                   Case No.: 16−65093−sms
       4938 Montford Court                                Chapter: 13
       Duluth, GA 30096

       xxx−xx−8746


                                  NOTICE TO CHAPTER 13 DEBTOR
                             REGARDING DOMESTIC SUPPORT OBLIGATIONS



      If you now have a domestic support obligation (an obligation to pay alimony, maintenance or support of your
spouse, former spouse, child or parent of your child (see 11 U.S.C. § 101(14A) for further explanation)) or if during
this case, a domestic support obligation is imposed upon you then, in order to receive your discharge, you must be
current (up−to−date) on all the payments for your domestic support obligation that:(1) came due before you filed
your bankruptcy petition and your Chapter 13 plan required you to pay, and (2) came due after you filed your
bankruptcy petition. See 11 U.S.C. § 1328(a). Before you receive your discharge you will be required to certify under
penalty of perjury that payments on your domestic support obligations are up−to−date by filing a Debtor's 11 U.S.C.
§ 1328 certificate. The Chapter 13 Trustee will provide a copy of this Certificate after you have completed all
payments on your confirmed Plan. IF YOU DO NOT FILE THIS CERTIFICATE YOU WILL NOT RECEIVE
A DISCHARGE AND THE CASE WILL BE CLOSED.

      This Notice will be served upon Debtor and counsel for Debtor.

October 16, 2018
Date




                                                          M. Regina Thomas
                                                          Clerk of Court
                                                          U. S. Bankruptcy Court



Form 427
